AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Eastern District
                                                     __________  DistrictofofMissouri
                                                                              __________

           Missouri Electric Cooperatives, et al.                            )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No. 4:16-cv-01901
                   State of Missouri, et al.                                 )
                            Defendant                                        )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Charles W. Hatfield
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                12/08/2016            , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:
                                                                                            Signature of the attorney or unrepresented party

                       State of Missouri                                                                  James R. Layton
        Printed name of party waiving service of summons                                                      Printed name
                                                                                                         207 W. High St.
                                                                                                    Jefferson City, MO 65102

                                                                                                                 Address

                                                                                                    james.layton@ago.mo.gov
                                                                                                             E-mail address

                                                                                                           (573) 751-3321
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Eastern District
                                                     __________  DistrictofofMissouri
                                                                              __________

           Missouri Electric Cooperatives, et al.                            )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No. 4:16-cv-01901
                   State of Missouri, et al.                                 )
                            Defendant                                        )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Charles W. Hatfield
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                12/08/2016            , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:
                                                                                            Signature of the attorney or unrepresented party

                Missouri Ethics Commission                                                                    Liz Ziegler
        Printed name of party waiving service of summons                                                      Printed name
                                                                                                       3411 Knipp Dr # A,
                                                                                                    Jefferson City, MO 65109

                                                                                                                 Address

                                                                                                     Liz.Ziegler@mec.mo.gov
                                                                                                             E-mail address

                                                                                                           (573) 751-2020
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Eastern District
                                                     __________  DistrictofofMissouri
                                                                              __________

           Missouri Electric Cooperatives, et al.                            )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No. 4:16-cv-01901
                   State of Missouri, et al.                                 )
                            Defendant                                        )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Charles W. Hatfield
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                12/08/2016            , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:
                                                                                            Signature of the attorney or unrepresented party

Commissioner Kim Benjamin, Missouri Ethics Comm.                                                              Liz Ziegler
        Printed name of party waiving service of summons                                                      Printed name
                                                                                                       3411 Knipp Dr # A,
                                                                                                    Jefferson City, MO 65109

                                                                                                                 Address

                                                                                                     Liz.Ziegler@mec.mo.gov
                                                                                                             E-mail address

                                                                                                           (573) 751-2020
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Eastern District
                                                     __________  DistrictofofMissouri
                                                                              __________

           Missouri Electric Cooperatives, et al.                            )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No. 4:16-cv-01901
                   State of Missouri, et al.                                 )
                            Defendant                                        )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Charles W. Hatfield
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                12/08/2016            , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:
                                                                                            Signature of the attorney or unrepresented party

  Commissioner Bill Deeken, Missouri Ethics Comm.                                                             Liz Ziegler
        Printed name of party waiving service of summons                                                      Printed name
                                                                                                       3411 Knipp Dr # A,
                                                                                                    Jefferson City, MO 65109

                                                                                                                 Address

                                                                                                     Liz.Ziegler@mec.mo.gov
                                                                                                             E-mail address

                                                                                                           (573) 751-2020
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Eastern District
                                                     __________  DistrictofofMissouri
                                                                              __________

           Missouri Electric Cooperatives, et al.                            )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No. 4:16-cv-01901
                   State of Missouri, et al.                                 )
                            Defendant                                        )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Charles W. Hatfield
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                12/08/2016            , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:
                                                                                            Signature of the attorney or unrepresented party

 Commissioner Eric L. Dirks, Missouri Ethics Comm.                                                            Liz Ziegler
        Printed name of party waiving service of summons                                                      Printed name
                                                                                                       3411 Knipp Dr # A,
                                                                                                    Jefferson City, MO 65109

                                                                                                                 Address

                                                                                                     Liz.Ziegler@mec.mo.gov
                                                                                                             E-mail address

                                                                                                           (573) 751-2020
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Eastern District
                                                     __________  DistrictofofMissouri
                                                                              __________

           Missouri Electric Cooperatives, et al.                            )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No. 4:16-cv-01901
                   State of Missouri, et al.                                 )
                            Defendant                                        )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Charles W. Hatfield
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                12/08/2016            , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:
                                                                                            Signature of the attorney or unrepresented party

Commissioner Nancy Hagan, Missouri Ethics Comm.                                                               Liz Ziegler
        Printed name of party waiving service of summons                                                      Printed name
                                                                                                       3411 Knipp Dr # A,
                                                                                                    Jefferson City, MO 65109

                                                                                                                 Address

                                                                                                     Liz.Ziegler@mec.mo.gov
                                                                                                             E-mail address

                                                                                                           (573) 751-2020
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Eastern District
                                                     __________  DistrictofofMissouri
                                                                              __________

           Missouri Electric Cooperatives, et al.                            )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No. 4:16-cv-01901
                   State of Missouri, et al.                                 )
                            Defendant                                        )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Charles W. Hatfield
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                12/08/2016            , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:
                                                                                            Signature of the attorney or unrepresented party

Commissioner George Ratermann-MO Ethics Comm.                                                                 Liz Ziegler
        Printed name of party waiving service of summons                                                      Printed name
                                                                                                       3411 Knipp Dr # A,
                                                                                                    Jefferson City, MO 65109

                                                                                                                 Address

                                                                                                     Liz.Ziegler@mec.mo.gov
                                                                                                             E-mail address

                                                                                                           (573) 751-2020
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Eastern District
                                                     __________  DistrictofofMissouri
                                                                              __________

           Missouri Electric Cooperatives, et al.                            )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No. 4:16-cv-01901
                   State of Missouri, et al.                                 )
                            Defendant                                        )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Charles W. Hatfield
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                12/08/2016            , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:
                                                                                            Signature of the attorney or unrepresented party

   Commissioner Don Summers, MO Ethics Comm.                                                                  Liz Ziegler
        Printed name of party waiving service of summons                                                      Printed name
                                                                                                       3411 Knipp Dr # A,
                                                                                                    Jefferson City, MO 65109

                                                                                                                 Address

                                                                                                     Liz.Ziegler@mec.mo.gov
                                                                                                             E-mail address

                                                                                                           (573) 751-2020
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
